       Case 3:23-cv-04804-WHA Document 132-2 Filed 10/10/24 Page 1 of 3




 1   Arameh Zargham O’Boyle (SBN: 239495)
     AZOboyle@mintz.com
 2   MINTZ, LEVIN, COHN, FERRIS, GLOVSKY, AND POPEO, P.C.
     2049 Century Park East, Suite 300
 3   Los Angeles, CA 90067
     Telephone: (310) 586-3200
 4   Facsimile:     (310) 586-3202
     James M. Wodarski (Admitted Pro Hac Vice)
 5   JWodarski@mintz.com
     Michael C. Newman (Admitted Pro Hac Vice)
 6   MCNewman@mintz.com
     Matthew S. Galica (Admitted Pro Hac Vice)
 7   MSGalica@mintz.com
     James J. Thomson (Admitted Pro Hac Vice)
 8   JJThomson@mintz.com
     Sean M. Casey (Admitted Pro Hac Vice)
 9   SMCasey@mintz.com
     Tianyi Tan (Admitted Pro Hac Vice)
10   TTan@mintz.com
     Stephen Chen (Admitted Pro Hac Vice)
11   SChen@mintz.com
     Amy LoBue (Admitted Pro Hac Vice)
12   ALoBue@mintz.com
     MINTZ, LEVIN, COHN, FERRIS, GLOVSKY, AND POPEO, P.C.
13
     One Financial Center
14   Boston, MA 02111
     Telephone:     (617) 542-6000
15   Facsimile:     (617) 542-2241
     Attorneys for Defendants
16   RECYCLE TRACK SYSTEMS, INC., and
     RECYCLESMART SOLUTIONS INC.
17
                               UNITED STATES DISTRICT COURT
18
                            NORTHERN DISTRICT OF CALIFORNIA
19
     ROADRUNNER RECYCLING, INC.,                  Case No. 3:23-cv-04804-WHA
20
                      Plaintiff,                  DECLARATION OF MATTHEW S.
21        v.                                      GALICA IN SUPPORT OF DEFENDANTS’
                                                  MOTION FOR SUMMARY JUDGMENT
22 RECYCLE TRACK SYSTEMS, INC., and
   RECYCLESMART SOLUTIONS INC.,                   Assigned for All Purposes to:
23                                                The Hon. William H. Alsup
               Defendants.
24                                                Date: November 14, 2024
                                                  Time: 8:00 a.m.
25                                                Place: Courtroom 12, 19th Floor
26                                                Complaint Filed:    August 4, 2023
                                                  Trial Date:         December 9, 2024
27

28                                              1
                        DECLARATION OF MATTHEW S. GALICA IN SUPPORT OF
                          DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                  (CASE NO. 3:23-CV-04804-WHA)
        Case 3:23-cv-04804-WHA Document 132-2 Filed 10/10/24 Page 2 of 3




 1          I, Matthew S. Galica, hereby declare as follows:

 2          1.     I am an attorney with the law firm of Mintz, Levin, Cohn, Ferris, Glovsky and Popeo,

 3 P.C., counsel for Defendants Recycle Track Systems, Inc. and RecycleSmart Solutions, Inc. (together,

 4 “Defendants”). I have personal knowledge of the matters set forth below in this declaration. If called

 5 upon to testify to the same, I could and would testify competently thereto.

 6          2.     I submit this Declaration in support of Defendants’ Motion for Summary Judgment.

 7          3.     Attached hereto as Exhibit 1 is a true and correct copy of Plaintiff’s First

 8 Supplemental Responses to Defendants’ First Set of Interrogatories, served on May 31, 2024.

 9          4.     Attached hereto as Exhibit 2 is a true and correct copy of the compilation of

10 Defendants’ formal correspondences to Plaintiff sent during fact discovery.

11          5.     Attached hereto as Exhibit 3 is a true and correct copy of the Opening Expert Report

12 of Plaintiff’s technical expert, Mr. William Leo Hoarty, served on August 30, 2024 and excerpted to

13 the portions referenced by Defendants’ Memorandum of Points and Authorities in Support of Motion

14 for Summary Judgment (“Supporting Memorandum”).

15          6.     Attached hereto as Exhibit 4 is a true and correct copy of the transcript of the

16 September 12, 2024 deposition of Plaintiff’s technical expert, Mr. William Leo Hoarty, excerpted to

17 the portions referenced by Defendants’ Supporting Memorandum.

18          7.     Attached hereto as Exhibit 5 is a true and correct copy of the transcript of the October

19 7, 2024 deposition of Plaintiff’s technical expert, Mr. William Leo Hoarty, excerpted to the portions

20 referenced by Defendants’ Supporting Memorandum.

21          8.     Attached hereto as Exhibit 6 is a true and correct copy of Compology Terms and

22 Conditions (Last Modified on April 4, 2017), produced by Plaintiff at ROADRUNNER000073345 –

23 ROADRUNNER000073355.

24          9.     Attached hereto as Exhibit 7 is a true and correct copy of letter from Joe Mellema,

25 Plaintiff’s counsel, to Matthew Galica, Defendants’ counsel, dated October 8, 2024.

26          10.    Attached hereto as Exhibit 8 is a true and correct copy of Plaintiff’s Responses to

27 Defendants’ Fourth Set of Interrogatories, served on August 26, 2024.

28                                                 2
                           DECLARATION OF MATTHEW S. GALICA IN SUPPORT OF
                             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                     (CASE NO. 3:23-CV-04804-WHA)
        Case 3:23-cv-04804-WHA Document 132-2 Filed 10/10/24 Page 3 of 3




 1          11.    Attached hereto as Exhibit 9 is a true and correct copy of the transcript of the August

 2 15, 2024 deposition of Plaintiff’s 30(b)(6) witness, Mr. Timothy (Jay) Longson, excerpted to the

 3 portions referenced by Defendants’ Supporting Memorandum.

 4          12.    Attached hereto as Exhibit 10 is a true and correct copy of the Rebuttal Expert Report

 5 of Defendants’ technical expert, Dr. Philip Greenspun, served on September 13, 2024 and excerpted

 6 to the portions referenced by Defendants’ Supporting Memorandum.

 7          13.    Attached hereto as Exhibit 11 is a true and correct copy of the Rebuttal Expert Report

 8 of Defendants’ technical expert, Dr. R. Jacob Baker, served on September 13, 2024 and excerpted to

 9 the portions referenced by Defendants’ Supporting Memorandum.

10          14.    Attached hereto as Exhibit 12 is a true and correct copy of the transcript of the August

11 22, 2024 deposition of Plaintiff’s 30(b)(6) witness, Mr. Justin Armstrong, excerpted to the portions

12 referenced by Defendants’ Supporting Memorandum.

13          15.    Attached hereto as Exhibit 13 is a true and correct copy of the Reply Expert Report

14 of Plaintiff’s technical expert, Mr. William Leo Hoarty, served on September 20, 2024 and excerpted

15 to the portions referenced by Defendants’ Supporting Memorandum.

16          16.    Attached hereto as Exhibit 14 is a true and correct copy of the Opening Expert Report

17 of Plaintiff’s damages expert, Mr. Forrest A. Vickery, served on August 30, 2024 and excerpted to

18 the portions referenced by Defendants’ Supporting Memorandum.

19          17.    Attached hereto as Exhibit 15 is a true and correct copy of the transcript of the October

20 2, 2024 deposition of Plaintiff’s damages expert, Mr. Forrest A. Vickery, excerpted to the portions

21 referenced by Defendants’ Supporting Memorandum.

22          18.    I declare under penalty of perjury that the foregoing is true and correct.

23

24 Executed this 10th day of October, 2024, in Boston, Massachusetts.

25                                                      /s/ Matthew S. Galica
                                                        Matthew S. Galica
26

27

28                                                3
                          DECLARATION OF MATTHEW S. GALICA IN SUPPORT OF
                            DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                    (CASE NO. 3:23-CV-04804-WHA)
